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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                                   www.flsb.uscourts.gov


In re:                                                  Chapter 11

1 GLOBAL CAPITAL LLC, et al.,1                          Case No. 18-19121-RBR

                         Debtors.                       (Jointly Administered)


       DEBTORS’ EMERGENCY MOTION FOR INTERIM AND FINAL ORDERS
               AUTHORIZING (1) THE CONTINUED USE OF EXISTING
            BUSINESS FORMS AND RECORDS; (2) THE MAINTENANCE OF
                EXISTING CORPORATE BANK ACCOUNTS; (3) THE
        CONTINUED USE OF THE EXISTING CASH MANAGEMENT SYSTEM;
    AND (4) THE WAIVER OF CERTAIN INVESTMENT AND DEPOSIT GUIDELINES

                                    (Emergency Hearing Requested)

                                 Statement of Exigent Circumstances

         Pursuant to Local Rule 9013-1(F), the Debtors respectfully request that the Court
         conduct a hearing on the Motion on or before Tuesday, August 7, 2018. The
         Debtors maintain a number of bank accounts that are critical to maximizing the
         value of the Debtors’ estates. The United States Trustee Guidelines require the
         closing of all prepetition bank accounts and the establishment of new DIP
         accounts. Changing the Debtors’ existing bank accounts would severely disrupt
         and potentially cripple the Debtors’ cash management system, adversely affect the
         Debtors’ business, and jeopardize their ability to collect significant receivables.
         Heightening the exigency, the Debtors’ banks are refusing to accept inbound
         ACH transactions, cutting off the Debtors’ collection of MCAs. Similarly,
         compliance with the investment guidelines under section 345 of the Bankruptcy
         Code would disrupt the Debtors’ Cash Management System. Accordingly, the
         Debtors reasonably believe that a hearing to consider the relief requested must be
         held as soon as the Court’s calendar will permit.

         The above-captioned debtors and debtors-in-possession (the “Debtors”), hereby move

this Court, pursuant to sections 105, 345, 363, 364, 553, 1107 and 1108 of title 11 of the United


1
 The Debtors in these Chapter 11 Cases, along with the business addresses and the last four (4) digits of each
Debtor’s federal tax identification number, if applicable, are: 1 Global Capital LLC, 1250 E. Hallandale Beach
Blvd., Suite 409, Hallandale Beach, FL 33009 (9517); and 1 West Capital LLC, 1250 E. Hallandale Beach Blvd.,
Suite 409, Hallandale Beach, FL 33009 (1711).
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States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rules 6003 and 6004(h) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 9013-1(J) and

9075-1 of the Local Rules of this Court (the “Local Rules”), for an interim order, substantially in

the form attached as Exhibit “A” hereto (the “Proposed Order”), and a final order (a) authorizing,

but not directing (i) the Debtors’ continued use of existing business forms and records; (ii) the

Debtors’ maintenance of existing corporate bank accounts; and (iii) the continued use of the

Debtors’ existing Cash Management System; (b) waiving certain of the investment and deposit

guidelines promulgated by the Office of the United States Trustee (the “Guidelines”) and under

section 345 of the Bankruptcy Code; and (c) providing any additional relief as is necessary to

effectuate the foregoing. In support of this motion (the “Motion”), the Debtors rely on the

Expedited Motion of the Debtors for Entry of an Ex Parte Order Scheduling a Status Conference

[ECF No. 6] and the Chapter 11 Case Management Summary (the “Case Management

Summary”) [ECF No. 8]. In further support of this Motion, the Debtors respectfully represent as

follows:

                         Jurisdiction, Venue and Predicates for Relief

       1.      The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. This matter is core within the meaning of 28 U.S.C. § 157(b)(2).

       2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The predicates for the relief sought herein are sections 105(a), 363, 364, 553,

1107 and 1108 of the Bankruptcy Code, Bankruptcy Rules 6003 and 6004(h), and Local Rules

9013-1(J) and 9075-1.




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                                            Background

A.     Procedural and General Factual Background

       4.      On July 27, 2018 (the “Petition Date”), the Debtors commenced these cases (the

“Chapter 11 Cases”) by filing voluntary petitions for relief under chapter 11 of title 11 of the

Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Florida (the

“Court”).

       5.      The Debtors have continued in possession of their properties and are operating

and managing their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

       6.      No request has been made for the appointment of a trustee or examiner and a

creditors’ committee has not yet been appointed in these Chapter 11 Cases.

       7.      The Debtors provide direct financing to small businesses across the U.S.,

specializing in unsecured, short-term commercial financing and merchant cash advances

(“MCAs”). The Debtors’ business operations are funded through private, short-term loans,

which are invested in the MCAs and other funding products offered to the Debtors’ customers.

       8.      As a result of business and legal issues discussed in greater detail in the Case

Management Summary, the Debtors were forced to file these Chapter 11 Cases on an exigent

basis in order to address an imminent liquidity crisis and to preserve their assets and business

operations for the benefit of the individual lenders and all other parties in interest.




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B.         The Debtors’ Bank Accounts and Cash Management System2

           9.      Before the commencement of their Chapter 11 Cases, and in the ordinary course

of business, the Debtors implemented a cash management system (the “Cash Management

System”). As detailed on Exhibit “B” hereto, the Cash Management System is comprised of

seven active accounts at Bridge Bank,3 three active accounts at First Premier Bank,4 and one

active account at City National Bank (collectively, the “Bank Accounts”).5

           10.     MCAs constitute the majority of the assets of the Debtors’ estates. The Debtors

receive cash daily through collections related to the repayment of MCAs. In many instances,

these collections are automatically deposited into the Debtors’ existing Bank Accounts.

           11.     More specifically, certain of the Debtors’ customers remit payments through daily

auto debits that are transacted through a third party, ACHWorks, and executed directly by First

Premier Bank. The auto debits collected through ACHWorks are deposited into the Bridge Bank

Customer Pay account numbered x6313 and the auto debits collected through First Premier Bank

are deposited into the First Premier Operating account numbered x1356. Any account balance in

excess of $1,000,000 in the First Premier Operating account numbered x1356 is manually

transferred to the First Premier Customer Pay account numbered x2223 at the end of each

business day.         Additionally, the Debtors collect non-recurring payments from customers


2
  Shortly after the Petition Date, the Debtors closed their accounts with City National Bank through which incoming
funds from the Debtors’ investors were deposited. Such accounts are not the subject of the instant Motion and will
remain closed in order to ensure that the Debtors do not receive any new loans or incur additional liabilities in this
regard.
3
 The Bridge Bank accounts and the last four digits of each include: Checking Account numbered x3270; Customer
Pay Account numbered x6313; Money Market Account numbered x2967; Analyzed Checking Account numbered
x1605; Lender Payout Account numbered x0356; ACH Reserve Account numbered x6253; and Credit Card Reserve
Account numbered x8939.
4
 The First Premier Bank accounts and the last four digits of each include: Operating Account numbered x1356;
Customer Pay Account numbered x2223; and ACH Reserve Account numbered x1590.
5
    The City National Bank account and the last four digits thereof is: ACH Credit Reserve Account numbered x7261.


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experiencing repayment difficulties and “split payments” from credit card processors for

restaurant customers, both of which are deposited into Bridge Bank Customer Pay account

numbered x6313.

       12.     Any change in the Debtors’ above-described collection accounts may have a

significant negative effect on the Debtors’ ability to collect on the customer receivables that

constitute the vast majority of the assets of these estates. In addition to the distraction to

management and administrative burden attendant to a major change in the collection system, the

Debtors believe that actual collections will be negatively affected during and as a result of any

change in practices, particularly as to customers who are aware of these Chapter 11 proceedings.

       13.     Heightening this concern and the exigency of this Motion, the Debtors’ banks are

refusing to accept inbound ACH transactions. This refusal is cutting off the Debtors’ ability to

collect on the MCAs and denying them access to property of their estates. The relief requested

in this Motion is necessary to ensure that the Debtors’ banks will resume accepting inbound

ACH transactions and that the Debtors are able to collect payments on the MCAs.

       14.     The Debtors also utilize certain other accounts in the operation of their business.

The Debtors’ rent, payroll and operational disbursements were historically made from the Bridge

Bank Checking account numbered x3270, a zero-balance account. Upon the filing of these

Chapter 11 Cases, the Debtors became aware of a discrepancy in the Bridge Bank’s records as to

who is listed as the owner of this account. Pending resolution of such issue, the Debtors will not

further utilize this account for any purposes. There is no current balance in this account.

       15.     Larger, infrequent disbursements by the Debtors, such as payments to

professionals, were historically made from the Bridge Bank Analyzed Checking account

numbered x1605. There is no discrepancy in Bridge Bank’s records regarding ownership of this




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account, and the Debtors intend to utilize this account for general postpetition operational

payments going forward.

        16.     MCA disbursements were historically made from the First Premier Customer Pay

account numbered x2223.

        17.     The Money Market account at Bridge Bank is used for excess funds not required

for operations in the short term, is interest bearing, and has minimal activity.

        18.     The Debtors have four restricted cash accounts that are used as collateral for ACH

collections and credit cards that maintain stagnant balances.6 The Debtors currently are not

seeking to utilize cash from these restricted accounts.

        19.     Payments to lenders were historically disbursed from the Bridge Bank Lender

Payment account numbered x0356, a zero balance account funded by the Bridge Bank Customer

pay account numbered x6313. The Debtors have ceased any such disbursements to their lenders.

        20.     The Debtors’ transition into Chapter 11 will be significantly less disruptive if the

Bank Accounts are maintained following the commencement of the Chapter 11 Cases with the

same account numbers and, where applicable, automated relationship. The Debtors further

request authority to deposit funds in and withdraw funds from all such accounts postpetition,

subject to the same access rights and limitations existing prior to the Petition Date, including, but

not limited to, checks, wire transfers, ACH, electronic funds transfers and other debits and to

treat the Bank Accounts for all purposes as debtor-in-possession accounts.

        21.     Bridge Bank and First Premier Bank are currently not included among the Region

21 authorized depositories. The Debtors will work with these banks and the Office of the United



6
 These accounts include the Bridge Bank ACH Reserve account numbered x6253 and Credit Card Reserve account
numbered x8939; the First Premier ACH Reserve account numbered x1590; and City National Bank ACH Credit
Reserve account numbered x7261.


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States trustee to obtain such authorization for purposes of these Chapter 11 Cases. In the event

such authorization is ultimately not obtained, the Debtors will seek further relief from this Court.

C.     Existing Business Forms and Checks

       22.     In the ordinary course of business, the Debtors use pre-printed check stock with

the Debtors’ name printed thereon. In addition, the Debtors maintain pre-printed correspondence

and business forms, including, but not limited to, letterhead, envelopes, promotional materials

and other business forms (collectively, along with the Debtor’s checks, the “Business Forms”).

To minimize administrative expense and delay, the Debtors request authority to continue to use

their Business Forms substantially in the forms existing immediately prior to the Petition Date,

without reference to the Debtors’ “debtor-in-possession” status.

                                         Relief Requested

       23.     By this Motion, the Debtors seek interim and final orders (a) authorizing, but not

directing (i) the Debtors’ continued use of existing business forms and records; (ii) the Debtors’

maintenance of existing corporate bank accounts; and (iii) the continued use of the Debtors’

existing Cash Management System; (b) waiving certain of the investment and deposit guidelines

promulgated by the Guidelines and under section 345 of the Bankruptcy Code; and (c) providing

any additional relief as is necessary to effectuate the foregoing.

                                    Basis for Relief Requested

A.     Cash Management System

       24.     The continued use of a cash management system employed in the ordinary course

of a debtor’s prepetition business has been approved as a routine matter in a number of other

cases in this District. See, e.g., In re Adinath Corp., No. 15-16885-LMI (Bankr. S.D. Fla. May

11, 2015); In re Florida Gaming Centers, Inc., No. 13-29597-RAM (Bankr. S.D. Fla. Oct. 7,

2013); In re Realauction.com, LLC, No. 13-28260 (Bankr. S.D. Fla. Sept. 19, 2013); In re TLO,


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LLC, No. 13-20853-PGH (Bankr. S.D. Fla. June 13, 2013); In re HearUSA, Inc., No. 11-23341-

EPK (Bankr. S.D. Fla. May 16, 2011). Courts have recognized that strict enforcement of the

bank account closure requirements in certain cases does not serve the purposes of chapter 11.

Accordingly, courts have waived such requirements and replaced them with alternative

procedures that provide the same protections. See, e.g., In re TLO, LLC, No. 13-20853-PGH

(Bankr. S.D. Fla. June 13, 2013) (permitting debtors to maintain existing bank accounts and cash

management system); In re HearUSA, Inc., No. 11-23341-EPK (Bankr. S.D. Fla. May 16, 2011)

(same).

          25.   Courts have long recognized that an integrated cash management system “allows

efficient utilization of cash resources and recognizes the impracticalities of maintaining separate

cash accounts for the many different purposes that require cash.” In re Columbia Gas Sys., Inc.,

136 B.R. 930, 934 (Bankr. D. Del. 1992), aff’d in part and rev’d in part, 997 F.2d 1039 (3d Cir.

1993). The Courts of Appeal have recognized the efficiencies to be reaped by maintaining a

debtor’s prepetition cash management system. See, e.g., Columbia Gas, 997 F.2d at 1061

(emphasizing that requiring a debtor to maintain separate accounts “would be a huge

administrative burden and economically inefficient”); In re Southmark Corp., 49 F.3d 1111,

1114 (5th Cir. 1995) (stating a cash management system allows a debtor “to administer more

efficiently and effectively its financial operations and assets”).

          26.   Further, section 105(a) of the Bankruptcy Code empowers the Court to “issue any

order, process or judgment that is necessary to carry out the provisions of this title” and

section 363(c)(1) of the Bankruptcy Code authorizes the debtor-in-possession to “use property of

the estate in the ordinary course of business without notice or a hearing.” 11 U.S.C. §§ 105(a),

363(c)(1). The purpose of these sections is to provide a debtor-in-possession with the flexibility




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to engage in the ordinary transactions required to operate its business without undue oversight by

creditors or the court. See Med. Malpractice Ins. Ass’n v. Hirsch (In re Lavigne), 114 F.3d 379,

384 (2d Cir. 1997).

       27.     The Debtors’ Cash Management System constitutes a customary and essential

business practice that was created and implemented by the Debtors in the exercise of their

business judgment. The Cash Management System is a practical and critical mechanism that

allows the Debtors to transfer their revenues to the payment of their obligations, which decreases

the burdens on the Debtors, and that provides several important benefits, including the ability to:

(a) control and monitor corporate funds; (b) ensure cash availability and (c) reduce

administrative expenses by facilitating the movement of funds and the development of timely

and accurate balance and presentment information. All of these benefits will assist the Debtors

in their efforts to maintain their operations during the Chapter 11 Cases.

B.     The Debtors Should be Permitted to Maintain Bank Accounts

       28.     As previously discussed, the Debtors maintain a total of eleven (11) Bank

Accounts and conduct numerous financial transactions utilizing these Bank Accounts. It would

cause an enormous amount of disruption to force the Debtors to open new bank accounts and

close the existing Bank Accounts. Such disruption would provide no benefit to the Debtors’

estates and would likely result in havoc for the Debtors’ Cash Management System and

significant harm to the Debtors’ ability to collect on the receivables that constitute the main asset

of these estates. Thus, the Debtors should be authorized, but not directed, to continue to fund

their business and operations by payments made from the Bank Accounts (with the exception of




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Bridge Bank Checking account numbered x3270), and should be exempt from certain of the

Guidelines established by the United States Trustee for the Southern District of Florida. 7

        29.      As part of the requested relief, the Debtors also seek a waiver of the requirement

to establish specific bank accounts for tax payments. The Debtors believe that tax obligations

can be paid most efficiently out of the existing Bank Accounts, that the United States Trustee can

adequately monitor the flow of funds into, among and out of the Bank Accounts, and that the

creation of new debtor-in-possession accounts designated solely for tax obligations would be

unnecessary and inefficient.

        30.      Moreover, if the Debtors were forced to close their Bank Accounts, the Debtors

expect that there would be disruption and confusion that would negatively impact their

operations. For instance, funds may be deposited into the wrong account, misapplied, held in

limbo or otherwise delayed, thus negatively affecting the Debtors’ relationships with merchants

and other parties who are necessary to the Debtors’ efforts and who already may be burdened by

the filing of these Chapter 11 Cases. As a result, the Debtors submit that maintenance of the

existing Bank Accounts and Cash Management System is warranted.

        31.      Subject to section 553 of the Bankruptcy Code, all banks that maintain the Bank

Accounts should be prohibited from offsetting, affecting, freezing or otherwise impeding the

Debtors’ use of any funds deposited in the Bank Accounts on account of, or by reason of, any

claim (as defined in section 101(5) of the Bankruptcy Code) of any such bank against the

Debtors that arose before the Petition Date, absent further order of the Court.

7
   The Guidelines were issued in order to assist the U.S. Trustee in supervising the administration of chapter 11
cases. Such Guidelines require chapter 11 debtors to, among other things, unless the Court requires otherwise:
    a. Close all existing bank accounts and open new accounts which must be designated debtor-in-possession
        bank accounts;
    b. Establish and maintain separate debtor-in-possession accounts for the payment of taxes and separate
        debtor-in-possession accounts for cash collateral; and
    c. Obtain and utilize new checks for all debtor-in-possession accounts which bear the designation “Debtor-in-
        Possession” and contain certain other information related to the chapter 11 case.


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C.     The Debtors Should be Permitted to
       Continue Using Existing Business Forms

       32.     The Debtors request that this Court authorize, but not direct, them to use all

correspondence and Business Forms existing immediately before the Petition Date without

reference to the Debtors’ status as “debtors-in-possession.” As of the Petition Date, the Debtors

have stock of Business Forms that they use in the ordinary course of business. Reprinting their

Business Forms to indicate that the Debtors are “debtors-in-possession” would impose an

unnecessary burden and expense on the Debtors. There is little doubt that the parties with whom

the Debtors do business shortly will become aware that they are chapter 11 debtors-in-

possession. In the event the Debtors exhaust their existing stock of Business Forms before the

conclusion of these Chapter 11 Cases, the Debtors will add such “debtor-in-possession”

designation to any checks that they obtain or create postpetition.

             Bankruptcy Rule 6003 is Satisfied and Request for Waiver of Stay

       33.     The Debtors further submits that because the relief requested in this Motion is

necessary to avoid immediate and irreparable harm to the Debtors for the reasons set forth

herein, Bankruptcy Rule 6003 has been satisfied and the relief requested herein should be

granted.

       34.     Specifically, Bankruptcy Rule 6003 provides:

               Except to the extent that relief is necessary to avoid immediate and
               irreparable harm, the court shall not, within 21 days after the filing of the
               petition, issue an order granting the following: . . . (b) a motion to use,
               sell, lease, or otherwise incur an obligation regarding property of the
               estate, including a motion to pay all or part of a claim that arose before the
               filing of the petition, but not a motion under Rule 4001 . . . .

Fed. R. Bankr. P. 6003.




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       35.     The Eleventh Circuit Court of Appeals has interpreted the “irreparable harm”

language in the context of preliminary injunctions. In that context, irreparable harm has been

interpreted as a continuing harm that cannot be adequately redressed by final relief on the merits

and for which money damages cannot provide adequate compensation.                See, e.g., Cate v.

Oldham, 707 F.2d 1176, 1189 (11th Cir.1983) (citing Deerfield Medical Center v. City of

Deerfield Beach, 661 F.2d 328, 338 (5th Cir. Unit B 1981)). Further, the harm must be shown to

be actual and imminent, not speculative or unsubstantiated. See, e.g., Siegel v. LePore, 234 F.3d

1163, 1176 (11th Cir. 2000).

       36.     The Debtors further seek a waiver of any stay of the effectiveness of the order

approving this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use,

sale, or lease of property other than cash collateral is stayed until the expiration of 14 days after

entry of the order, unless the court orders otherwise.” Fed. R. Bankr. P. 6004(h). As set forth

above, the relief requested herein is essential to prevent irreparable damage to the Debtors’

during these Chapter 11 Cases.

       37.     Accordingly, the relief requested herein is appropriate under the circumstances

and under Bankruptcy Rules 6003 and 6004(h).




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                                            Conclusion

       WHEREFORE, the Debtors respectfully request that this Court enter an order granting

the relief requested herein and granting such other and further relief as is just and proper.

Dated: August 3, 2018                              GREENBERG TRAURIG, LLP

                                                   /s/ John R. Dodd
                                                   Mark D. Bloom
                                                   Fla. Bar No. 303836
                                                   bloomm@gtlaw.com

                                                   Paul J. Keenan Jr.
                                                   Fla. Bar No. 0594687
                                                   keenanp@gtlaw.com

                                                   John R. Dodd
                                                   Fla. Bar No. 38091
                                                   doddj@gtlaw.com

                                                   333 S.E. 2nd Avenue, Suite 4400
                                                   Miami, Florida 33131
                                                   Tel: 305-579-0500
                                                   Fax: (305) 579-0717
                                                   Proposed Counsel for the Debtors
                                                   and Debtors-in-Possession




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                       Exhibit A

                    Proposed Order
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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov


In re:                                                    Chapter 11

1 GLOBAL CAPITAL LLC, et al.,8                            Case No. 18-19121-RBR

                          Debtors.                        (Jointly Administered)



    INTERIM ORDER (A) AUTHORIZING (I) THE MAINTENANCE OF BANK
   ACCOUNTS AND CONTINUED USE OF EXISTING BUSINESS FORMS AND
  CHECKS, (B) THE CONTINUED USE OF THE EXISTING CASH MANAGEMENT
SYSTEM, AND (C) WAIVING CERTAIN INVESTMENT AND DEPOSIT GUIDELINES

         Upon the motion (the “Motion”)9 [ECF No. ___] filed by the above-captioned debtors

and debtors-in-possession (the “Debtors”) seeking entry of interim and final orders: (a)


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    The Debtors in these Chapter 11 Cases, along with the business addresses and the last four (4) digits of each
    Debtor’s federal tax identification number, if applicable, are: 1 Global Capital LLC, 1250 E. Hallandale Beach
    Blvd., Suite 409, Hallandale Beach, FL 33009 (9517); and 1 West Capital LLC, 1250 E. Hallandale Beach
    Blvd., Suite 409, Hallandale Beach, FL 33009 (1711).
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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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authorizing, but not directing (i) the Debtors’ continued use of existing business forms and

records; (ii) the Debtors’ maintenance of existing corporate bank accounts; and (iii) the

continued use of the Debtors’ existing Cash Management System; (b) waiving certain of the

investment and deposit guidelines promulgated by the Office of the United States Trustee (the

“Guidelines”) and under section 345 of the Bankruptcy Code; and (c) providing any additional

relief as is necessary to effectuate the foregoing; and upon the Chapter 11 Case Management

Summary (the “Case Management Summary”) [ECF No. 8]; and upon the statements of counsel

in support of the relief requested in the Motion at the hearing before the Court; and it appearing

that this Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334;

and it appearing that venue of these Chapter 11 Cases and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that this matter is a core proceeding

pursuant to 28 U.S.C. § 157(b); and this Court having determined that the relief requested in the

Motion is in the best interests of the Debtors, their estates, their creditors and other parties-in-

interest; and it appearing that proper and adequate notice of the Motion has been given and that

no other or further notice is necessary; and after due deliberation thereon; and good and

sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:
       1.        For the reasons set forth on the record, the Motion is GRANTED, as set forth

herein, on an interim basis, nunc pro tunc to the Petition Date.

       2.        The Debtors are authorized, but not directed, to maintain and use their Cash

Management System, as more fully set forth in the Motion.

       3.        The Debtors are authorized, but not directed, to maintain and use the existing

Bank Accounts in the name and with the account numbers existing immediately before the

Petition Date.


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       4.      The deadline by which objections to the Motion and the final order must be filed

is _________, 2018 at _:___ __.m. (Prevailing Eastern Time). A final hearing (the “Final

Hearing”) to consider the relief requested in the Motion, if required, will be held on __________,

2018 at _:___ __.m. (Prevailing Eastern Time). If no objections are filed to the Motion, the

Court may enter the final order without further notice or hearing.

       5.      The requirement in the Guidelines that the Debtors (i) close all existing bank

accounts and open new DIP bank accounts in certain financial institutions designated as

authorized depositories by the U.S. Trustee, (ii) establish one DIP account for all estate monies

required for the payment of taxes (including payroll taxes), (iii) maintain a separate DIP account

for cash collateral, (iv) obtain checks for all DIP accounts that bear the designation, “debtor-in-

possession,” the bankruptcy case number, and the type of account, and (v) close their books and

records as of the petition date and to open new books and records are hereby excused pending a

final hearing. The requirements provided in 11 U.S.C. § 345(b) are hereby waived as to the

Bank Accounts for an interim period of sixty (60) days, without prejudice to the Debtors’ rights

to seek further waivers from the U.S. Trustee without further Order of this Court. The Debtors

shall continue, pending such final hearing, to work with the Office of the United States Trustee

for the Southern District of Florida to address the issues set forth herein, and otherwise comply

with the Guidelines.

       6.      The Debtors are authorized, but not directed, to deposit funds in and withdraw

funds from their Bank Accounts by all usual means, subject to the same access rights and

limitations existing prior to the Petition Date, including, but not limited to, checks, wire

transfers, automated clearinghouse transfers, electronic funds transfers and other debits and to

treat the Bank Accounts for all purposes as debtor-in-possession accounts.




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       7.      The Debtors are authorized, but not directed, to continue to use their checks,

correspondence and Business Forms including, but not limited to, purchase orders, letterhead,

envelopes, promotional materials, and other business forms, substantially in the forms existing

immediately prior to the Petition Date, without reference to the Debtors’ debtor-in-possession

status, provided that the Debtors will add the “debtor-in-possession” designation to any new

checks that they obtain or create postpetition.

       8.      Bridge Bank, First Premier Bank, City National Bank, and any and all other

financial institutions receiving or transferring funds from the Debtors are hereby authorized and

directed to continue to service and administer the Bank Accounts of the Debtors as a debtors-in-

possession without interruption and in the usual and ordinary course, and to receive, process,

honor and pay any and all checks, drafts, wires or ACH transfers drawn on the Bank Accounts

by the holders or makers thereof.

       9.      The Debtors shall retain the authority to close or otherwise modify certain of their

Bank Accounts and open new debtor-in-possession accounts, or otherwise make changes to their

Cash Management System as they deem necessary to facilitate the Chapter 11 Cases and

operations, or as may be necessary to comply with the requirements of any debtor-in-possession

financing facility or cash collateral usage approved by this Court. In the event that the Debtors

open any additional or close any current or additional Bank Accounts, such opening or closing

shall be timely indicated on the Debtors’ monthly operating reports or notice of such opening or

closing shall otherwise be timely provided to the Office of the United States Trustee for the

Southern District of Florida.

       10.     Subject to section 553 of the Bankruptcy Code, all banks that maintain the Bank

Accounts are prohibited from offsetting, affecting, freezing or otherwise impeding the Debtors’




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use of any funds in the Bank Accounts on account of, or by reason of, any claim (as defined in

section 101(5) of the Bankruptcy Code) of any such bank against the Debtors that arose before

the Petition Date, absent further order of this Court.

       11.     In connection with the ongoing utilization of the Cash Management System, the

Debtors shall continue to maintain records with respect to all transfers of cash so that all

transactions may be readily ascertained, traced, recorded properly and distinguished between

prepetition and postpetition transactions.

       12.     The Debtors are authorized, but not directed, to pay or reimburse any bank fees,

claims, costs, expenses or charges associated with the Bank Accounts and arising prior to and

after the Petition Date, including, without limitation, (i) service charges or fees; (ii) checks

deposited with the banks which have been dishonored or returned for insufficient funds; and

(iii) any reimbursement or other payment obligations, such as overdrafts, arising under the terms

of any prepetition agreement existing between the Debtors and each bank (collectively, the

“Bank Account Claims” and the banks in which the Debtors maintain the Bank Accounts, the

“Banks”). In the course of maintaining any of the Bank Accounts for the Debtors, the Banks are

authorized, without further Order of this Court, to continue to deduct from the appropriate Bank

Accounts, the Bank Account Claims incurred in connection with the Bank Accounts.

       13.     This Order shall apply to any and all Bank Accounts actually in, or linked to, the

Cash Management System, even if such Bank Accounts do not appear on the list in the

Motion. Any and all accounts opened by the Debtors on or after the Petition Date at any Bank

shall be deemed a Bank Account (as if it had been opened prior to the Petition Date and listed on

Exhibit B to the Motion) and any and all Banks at which such accounts are opened shall

similarly be subject to the rights and obligations of this Order.




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       14.       The Debtors are authorized to request the Banks, and the Banks are authorized

and directed to accept and honor all representations from the Debtors, as to which checks, drafts,

wires or ACH transfers should be honored or dishonored whether the Banks believe the payment

is or is not consistent with the order(s) of this Court and governing law, and whether such

checks, drafts, wires or ACH transfers are dated or made prior to, on or subsequent to the

Petition Date.

       15.       Notwithstanding any provision of this Order to the contrary, the Banks will not be

liable to any party on account of (a) following the Debtors’ instructions or representations as to

any check or other item that may be honored or as to any order of this Court, (b) the honoring of

any prepetition check or item in a good faith belief that the Court has authorized such prepetition

check or item to be honored, or (c) an innocent mistake made despite implementation of

reasonable item handling procedures.

       16.       Bankruptcy Rule 6003(b) has been satisfied because the relief requested in the

Motion is necessary to avoid immediate and irreparable harm to the Debtors.

       17.       Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms and

conditions of this Order shall be immediately effective and enforceable upon its entry.

       18.       The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

       19.       This Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation or implementation of this Order.

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Submitted by:
Mark D. Bloom
bloomm@gtlaw.com


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Paul J. Keenan, Jr.
keenanp@gtlaw.com
John R. Dodd
doddj@gtlaw.com
333 S.E. 2nd Avenue
Suite 4400
Miami, FL 33131
Telephone: 305-579-0500
Facsimile: 305-579-0717
(Mr. Dodd is directed to serve a conformed copy of this Order on interested parties and file a
certificate of service.)




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                       Exhibit B

                Debtors’ Bank Accounts
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